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                             Exhibit 27
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Ohio Attorney General’s Position: The Ohio Constitution does not contain a specific provision
creating a separation of powers within the state government. However, “this doctrine is implicitly
embedded in the entire framework of those sections of the Ohio Constitution that define the
substance and scope of powers granted to the three branches of state government.” City of South
Euclid -v- Jamison (1986) 28 Ohio St.3d 157, 158-159 (citing State -v- Harmon (1877) 31 Ohio
St. 250). For example, the Ohio Governor and Ohio Attorney General are two separately elected
officials with two separate duties and oversights (see Ohio Const. art III §5 (“The supreme
executive power of the State shall be vested in the Governor”) and R.C. §109.02 (“The Attorney
General is the chief law officer of the state”)). This separate executive structure with a lack of
common executive control does not empower the Attorney General to compel these agencies to
produce documents in discovery, nor would the Attorney General have any knowledge of what, if
any, documents these agencies have in their possession.

        Similarly, the Ohio Attorney General has no legal right to obtain documents from these
separate state agencies upon demand. The state of Ohio is an independent entity that is separate
and apart from its offices, agencies, and departments. State ex. rel. Merrill -v-Ohio Dept. of
Natural Resources, 130 Ohio St. 3d 30, 2011 Ohio 4612. In State of Ohio-v-Monsanto Co., et. al,
Hamilton C.P. No. A1801237 at 1 (Ohio Ct. Common Pleas Dec 2, 2020) [Ex. 37], the Court held
that “the case of State ex. rel Merrill -v- Ohio Dept. of Natural Resources . . . demonstrates that
the State and its agencies are not interchangeable parties in the context of litigation . . . the Attorney
General has the authority to advance what it views as a State interest and that authority is
independent of the Governor or state agencies . . . [therefore,] Ohio’s constitutional structure
prevents the Court from aggregating state agencies as parties and treating them as such for
purposes of discovery.”

        There is a distinction between the attorneys from the Ohio Attorney General’s office who
have filed this lawsuit – all of whom are assigned to the Consumer Protection Section within the
office - and the attorneys from the same office who may be engaged in responding to subpoenas
related to this lawsuit on behalf of their respective clients. Each of the 10 state agencies that
Defendants identify make their own decision as to whether to engage the Ohio Attorney General’s
office to represent them when responding to a subpoena. These decisions are driven by fact-
specific circumstances and, should the Attorney General’s office become involved, the
communication with the various state agencies would be conducted through sections within the
office different than that of the Consumer Protection Section, and any communication between
those attorneys and the agencies would be privileged and protected from not only the Defendants,
but also from the Ohio Attorney General’s Consumer Protection Section attorneys of record in this
matter. Conversely, any communication between the Ohio Attorney General’s Consumer
Protection Section attorneys who are of record in this matter and the ten agencies identified by
Defendants would not be privileged and protected.

       Meta cites R.C. §1331.16(N) and In re Generic Pharms. Pricing Antitrust Litig., 571 F.
Supp. 3d 406, 411 (E.D. Pa. 2021). However, this is an antitrust law case and the statute cited by
Meta and the court is applicable only to Ohio antitrust law. No such requirement exists within
Ohio consumer law or for the statutory authority under which Ohio has brought the case at bar.




                                                   1
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Meta’s Position: The Ohio agencies that Meta has identified—the Department of Children and
Youth, Department of Development, Department of Education & Workforce, Department of
Health, Department of Higher Education, Department of Job and Family Services, Department of
Mental Health & Addiction Services, Department of Youth Services, Office of Budget and
Management, and Office of Governor—are subject to discovery as a matter of state and Ninth
Circuit law. The Ohio AG is the “chief law officer for the state and all its departments.” Ohio
Rev. Code § 109.02 (emphasis added). By statute (with limited exceptions not relevant here), “no
state officer or board, or head of a department or institution of the state shall employ, or be
represented by, other counsel.” Id. “[T]he attorney general is legal counsel for all state agencies.”
Tobacco Use Prevention & Control Found. Bd. of Trustees v. Boyce, 925 N.E.2d 641, 658 (Ohio
Ct. App. 2009). No statute deprives the AG of access to agency documents. To the contrary,
agencies “shall render and furnish to the attorney general . . . all information and assistance in their
possession or within their power.” Ohio Rev. Code § 1331.16(N).1

Relying on § 1331.16(N), a federal court has already held that the Ohio AG has “control” over
agency materials—and therefore has discovery obligations with respect to them—under In re
Citric Acid’s “legal right” standard. In re Generic Pharms. Pricing Antitrust Litig., 2023 WL
6985587, at *4 (E.D. Pa. Oct. 20, 2023). That decision is consistent with other federal decisions
applying the “legal right” standard. See, e.g., Bd. of Educ. of Shelby Cnty. v. Memphis City Bd. of
Educ., 2012 WL 6003540, at *3 (W.D. Tenn. Nov. 30, 2012) (legal right based on AG’s “statutory
duties to handle ‘all legal services,’ ‘direct and supervise’ all litigation, and ‘represent’ the State
of Tennessee,” and the absence of any authority denying the AG the ability to “obtain responsive
documents on demand”); In re Generic Pharms. Pricing Antitrust Litig., 571 F. Supp. 3d 406, 411
(E.D. Pa. 2021) (legal right based on obligation to “represent[] Commonwealth agencies” and
statute providing that the AG “shall have the right to access at all times to the books and papers of
any Commonwealth agency necessary to carry out his duties” (cleaned up)).2

Montanto, the AG’s only authority, applied state-law discovery standards, with no reference to the
legal-right standard applied in Generic and Citric Acid. To the extent the Court concludes
Monsanto is relevant here, it was wrongly decided. See Slip Op. at 4 (recognizing contrary federal
authority).




1
  State ex rel. Merrill v. Ohio Dep't of Nat. Res., confirms the position Meta has made from the
outset that by bringing suit on behalf of the “State of Ohio,” see Multistate Compl., the State of
Ohio is the proper party, rendering irrelevant whether the Attorney General has control over
documents possessed by the State of Ohio’s agencies. 955 N.E.2d 935, 944 (Ohio 2011) (by
naming “the state of Ohio” as a party[,] . . . the pleadings verify that the state became an
independent party to the underlying action”).
2
 Ohio admits that it may assert that certain communications between the Attorney General’s office
and the relevant agencies are privileged. Ohio cannot fairly take the position here that the agencies
are not parties, to the extent that its communications with these agencies are attorney-client
privileged.
                                                  2
